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                                                       EASTERN PROFIT CORPORATION LIMITED’S
                                                                 TRIAL EXHIBIT LIST


Plaintiff
Trial Ex.   Date         Description                                              Bates Range          Deposition Exhibit or      Admitted / Objections
No.                                                                                                    Docket Number
*PX-1       12/29/2017   Research Agreement by and between Strategic Vision       EASTERN-000005-009   Wallop 9; Waller 2; Wang   X
                         US LLC, as the Contractor, and Eastern Corporation,                           2; Han 11; C. Han 34;
                         as the Client.
*PX-2       Undated      Presentation titled “Time to Get Them: Beginning the     SVUS000385-402       Waller 2, Wallop 6         X
                         Psycho-Political Campaign for China”
PX -3                                                                     INTENTIONALLY OMITTED

PX -4                                                                     INTENTIONALLY OMITTED

PX -5                                                                     INTENTIONALLY OMITTED

*PX -6      12/2017      PowerPoint Presentation entitled Fish Tank for 10        SVUS001687-688       SV 112                     X
                         People Only
*PX -7      12/2017      Presentation of Fifteen Subjects To Be Investigated by   SVUS000171-259       Wallop 7; Waller 6; Wang   X
                         Strategic Vision under Research Agreement                                     12
*PX -8      12/2017      List of Fifteen Subjects To Be Investigated by Strategic EASTERN-000020       SV 102                     X
                         Vision under Research Agreement
PX -9                                                                     INTENTIONALLY OMITTED

PX -10                                                                    INTENTIONALLY OMITTED




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                                                   EASTERN PROFIT CORPORATION LIMITED’S
                                                             TRIAL EXHIBIT LIST

PX -11   12/29/2017   Loan Agreement by and between ACA Capital Group      EASTERN-000278-280   Wang 31; C. Han 35   ADVANCE RULING
                      Limited, as Lender, and Eastern Profit Corporation                                             REQUESTED
                                                                                                                     Rules 901, 402, 602:
                                                                                                                     Objection as to
                                                                                                                     authenticity and
                                                                                                                     relevance. C. Han
                                                                                                                     claimed to recognize his
                                                                                                                     signature, but cannot read
                                                                                                                     English (C. Han. Dep.
                                                                                                                     119:9-124:10), and could
                                                                                                                     therefore not properly
                                                                                                                     authenticate the rest of
                                                                                                                     the document. C. Han
                                                                                                                     claimed he did not tell
                                                                                                                     Eastern about the
                                                                                                                     document after it was
                                                                                                                     signed (135:6-20), and
                                                                                                                     did not keep a copy
                                                                                                                     (134:21-24). No witness,
                                                                                                                     including Wang, could
                                                                                                                     explain how Eastern came
                                                                                                                     to obtain the copy of the
                                                                                                                     purported agreement
                                                                                                                     during the litigation; it
                                                                                                                     was not produced until
                                                                                                                     after Eastern’s first
                                                                                                                     corporate representative
                                                                                                                     deposition. ACA (the
                                                                                                                     alleged counter-party to
                                                                                                                     the purported loan
                                                                                                                     agreement) evaded
                                                                                                                     service of a deposition
                                                                                                                     subpoena by having a
                                                                                                                     director who was served
                                                                                                                     in New Jersey resign her
                                                                                                                     position a day before
                                                                                                                     service of the subpoena.
                                                                                                                     Strategic has been unable
                                                                                                                     to locate William Je, the
                                                                                                                     person who C. Han


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                                                      EASTERN PROFIT CORPORATION LIMITED’S
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Plaintiff
Trial Ex.   Date         Description                                           Bates Range          Deposition Exhibit or         Admitted / Objections
No.                                                                                                 Docket Number
                                                                                                                                  claims personally
                                                                                                                                  negotiated and signed it.
PX-11                                                                                                                             Further not relevant
(cont.)                                                                                                                           because Eastern had no
                                                                                                                                  means or plan for
                                                                                                                                  repayment of the $1
                                                                                                                                  million initial payment of
                                                                                                                                  even one month’s agreed
                                                                                                                                  charge under the
                                                                                                                                  Research Agreement of
                                                                                                                                  $750,000 over the multi-
                                                                                                                                  year term of the contract.
                                                                                                                                  Rules 1001-1004: Eastern
                                                                                                                                  is seeking to prove the
                                                                                                                                  contents of a document
                                                                                                                                  (that there is a loan) and
                                                                                                                                  has never produced an
                                                                                                                                  original or explained how
                                                                                                                                  the copy came into its
                                                                                                                                  possession.
*PX -12     01/02/2018   Wire Transfer Receipts Evidencing Payment of Deposit EASTERN-000021-022    Wang 7                        X
                         by ACA Capital Group Ltd.
PX-13                                                                    INTENTIONALLY OMITTED

PX-14                                                                    INTENTIONALLY OMITTED

*PX-15      01/29/2018   Signal Messages Between J. Michael Waller and         EASTERN-000250-275   Wallop 12; Waller 17          X
                         Yvette Wang
*PX-16      02/23/2018   Termination Letter from Anthony D. Mirenda of Foley   EASTERN-000198-200   Wallop 13; Waller 8; Wang     X
                         Hoag LLP on behalf of Eastern Profit Corporation to                        6
                         French Wallop
*PX-17      08/30/2018   Limited Power of Attorney by and between Eastern      EASTERN-000276-277   Guo 2; Maistrello 7; C. Han   X
                         Profit Corporation and Golden Spring (New York)                            32
                         Limited

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                                    Case 1:18-cv-02185-LJL Document 333 Filed 04/08/21 Page 4 of 33
                                                       EASTERN PROFIT CORPORATION LIMITED’S
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Plaintiff
Trial Ex.   Date         Description                                           Bates Range       Deposition Exhibit or      Admitted / Objections
No.                                                                                              Docket Number
*PX-18      11/2017-     Handwritten Notes of J. Michael Waller                SVUS001762-1790   SV 106                     X
            01/2018
*PX-19      12/2017-     French Wallop’s Paper Calendar                        SVUS002102-105    SV 111                     X
            02/2018
*PX-20      09/2017-     Expense Receipts Produced by Strategic Vision         SVUS001976-991    SV 110                     X
            02/2018
*PX-21      01/2018-     Georgetown Research LLC Citibank, N.A. Account        SVUS001954-1960   SV 103                     X
            05/2018      Statements
*PX-22      01/2018-     Strategic Vision US LLC Citibank, N.A. Account        SVUS001907-938    SV 114                     X
            01/2019      Statements
*PX-23      01/2018-     French Wallop’s Hand-Written Notes Regarding          SVUS001939-953    SV 113                     X
            01/2019      Expenses
*PX-24      01/06/2018   Invoice from Georgetown Research LLC to Strategic     SVUS001955        SV 104                     X
                         Vision
*PX-25      02/09/2018   Invoice from J. Michael Waller to Georgetown          SVUS001961-965    SV 107                     X
                         Research LLC
*PX-26      02/20/2018   Invoice from Allied Special Operations Group LLC to   SVUS000262-266    Wallop 16; Waller 13; SV   X
                         Georgetown Research                                                     105
*PX-27      02/27/2018   Invoice from J. Michael Waller to Georgetown          SVUS001966        SV 108                     X
                         Research LLC
*PX-28      02/28/2018   Invoice from J. Michael Waller to Georgetown          SVUS001972-1975   SV 109                     X
                         Research LLC
*PX-29      04/16/2018   Invoice from Fletcher International Business          SVUS000272-277    Wallop 17                  X
                         Consultancy to Strategic Vision US LLC




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                                   Case 1:18-cv-02185-LJL Document 333 Filed 04/08/21 Page 5 of 33
                                                       EASTERN PROFIT CORPORATION LIMITED’S
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Plaintiff
Trial Ex.   Date         Description                                             Bates Range   Deposition Exhibit or   Admitted / Objections
No.                                                                                            Docket Number
PX-30       05/27/2017   Article by William Gertz entitled China Intervenes to                 Gertz 2                 ADVANCE RULING
                         Block Businessman from Revealing Spying Secrets on                                            REQUESTED
                         VOA                                                                                           Rules 901, 402, 602, 403.
                                                                                                                       Objection: lacking in
                                                                                                                       relevance, misleading,
                                                                                                                       confusion of issues, lack
                                                                                                                       of foundation, hearsay:
                                                                                                                       the author of the article
                                                                                                                       admitted in sworn
                                                                                                                       testimony that he did not
                                                                                                                       fully investigate Guo
                                                                                                                       before writing the article
                                                                                                                       and that he had taken
                                                                                                                       $100,000 from William
                                                                                                                       Je (close associate of
                                                                                                                       Guo), an action that cause
                                                                                                                       his termination from a
                                                                                                                       recognized conservative
                                                                                                                       newspaper for violation
                                                                                                                       of journalistic principles.
                                                                                                                       See Gertz Depo., 178:6-
                                                                                                                       14 (Gertz has never asked
                                                                                                                       Guo about his actual birth
                                                                                                                       date or early years in
                                                                                                                       China); 86:3-87:20 (never
                                                                                                                       asked details about
                                                                                                                       Chinese officials’ visits to
                                                                                                                       his Sherry-Netherland
                                                                                                                       apartment in May 2018);
                                                                                                                       87:20-88:4 (has never
                                                                                                                       heard of Guo’s statements
                                                                                                                       expressing absolute faith
                                                                                                                       in General Secretary Xi).




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                                                         EASTERN PROFIT CORPORATION LIMITED’S
                                                                   TRIAL EXHIBIT LIST

Plaintiff
Trial Ex.   Date         Description                                               Bates Range   Deposition Exhibit or   Admitted / Objections
No.                                                                                              Docket Number
PX-31       10/09/2017   Article by William Gertz entitled Dissident Reveals                     Han 2                   ADVANCE RULING
                         Secret Chinese Intelligence Plans Targeting U.S.                                                REQUESTED
                                                                                                                         Rules 901, 402, 602, 403.
                                                                                                                         Objection: lacking in
                                                                                                                         relevance, misleading,
                                                                                                                         confusion of issues, lack
                                                                                                                         of foundation, hearsay:
                                                                                                                         the author of the article
                                                                                                                         admitted in sworn
                                                                                                                         testimony that he did not
                                                                                                                         fully investigate Guo
                                                                                                                         before writing the article
                                                                                                                         and that he had taken
                                                                                                                         $100,000 from William
                                                                                                                         Je (close associate of
                                                                                                                         Guo), an action that cause
                                                                                                                         his termination from a
                                                                                                                         recognized conservative
                                                                                                                         newspaper for violation
                                                                                                                         of journalistic principles.
                                                                                                                         See Gertz Depo., 178:6-
                                                                                                                         14 (Gertz has never asked
                                                                                                                         Guo about his actual birth
                                                                                                                         date or early years in
                                                                                                                         China); 86:3-87:20 (never
                                                                                                                         asked details about
                                                                                                                         Chinese officials’ visits to
                                                                                                                         his Sherry-Netherland
                                                                                                                         apartment in May 2018);
                                                                                                                         87:20-88:4 (has never
                                                                                                                         heard of Guo’s statements
                                                                                                                         expressing absolute faith
                                                                                                                         in General Secretary Xi).
PX-32       10/22/2017   Article in Wall Street Journal entitled China’s Pursuit                 Han 4                   X
                         of Fugitive Businessman Guo Wengui Kicks Off
                         Manhattan Caper Worthy of Spy Thriller

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                                                       EASTERN PROFIT CORPORATION LIMITED’S
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Plaintiff
Trial Ex.   Date         Description                                             Bates Range          Deposition Exhibit or   Admitted / Objections
No.                                                                                                   Docket Number
PX-33       10/25/2017   Article by William Gertz entitled Sessions Threatened                        Gertz 3                 ADVANCE RULING
                         to Quit Over Chinese Dissident                                                                       REQUESTED
                                                                                                                              Rules 901, 402, 602, 403.
                                                                                                                              Objection: lacking in
                                                                                                                              relevance, including
                                                                                                                              because the article makes
                                                                                                                              reference to numerous
                                                                                                                              subjects not at issue in the
                                                                                                                              case (Jeff Sessions, etc.),
                                                                                                                              misleading, confusion of
                                                                                                                              issues, lack of foundation,
                                                                                                                              hearsay: the author of the
                                                                                                                              article admitted in sworn
                                                                                                                              testimony that he did not
                                                                                                                              fully investigate Guo and
                                                                                                                              that he had taken
                                                                                                                              $100,000 from William
                                                                                                                              Je (close associate of
                                                                                                                              Guo), an action that cause
                                                                                                                              his termination from a
                                                                                                                              recognized conservative
                                                                                                                              newspaper for violation
                                                                                                                              of journalistic principles.
*PX-34      Undated      French Wallop LinkedIn Page                             EASTERN-000017-019   Wallop 2                X

*PX-35      Undated      J Michael Waller LinkedIn Page                          EASTERN-000013-016   Waller 4                X

*PX-36      11/28/2018   Strategic Vision US LLC’s Responses and Objections      N/A                  Wallop 19               X
                         to Eastern’s First Set of Interrogatories
*PX-37      01/23/2019   Strategic Vision US LLC’s Supplemental and              N/A                  Wallop 20; Waller 18    X
                         Amended Responses and Objections to Eastern’s First
                         Set of Interrogatories
*PX-38      08/08/2019   Strategic Vision US LLC’s Amended Answer and            N/A                  Dkt. No. 127            X
                         Counterclaims to Second Amended Complaint


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                                                      EASTERN PROFIT CORPORATION LIMITED’S
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Plaintiff
Trial Ex.   Date         Description                                          Bates Range    Deposition Exhibit or   Admitted / Objections
No.                                                                                          Docket Number
*PX-39      09/16/2019   Strategic Vision US LLC’s Objections and Responses   N/A            N/A                     X
                         to Plaintiff’s First Set of Requests for Admission
*PX-40      04/07/2020   Strategic Vision US LLC’s L.R. 56.1 Statement        N/A            Dkt. No. 275            X

*PX-41      01/2018      Thumb drives delivered from Waller to Eastern        N/A            N/A                     X




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                                                EASTERN PROFIT CORPORATION LIMITED’S
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PX-42   04/19/2017   Guo Wengui’s VOA Interview on April 19, 2017   N/A                N/A       Eastern had provided no
                                                                                                 translation of the
                                                                                                 interview at the deadline
                     https://www.youtube.com/watch?v=-oEcKHttxeE                                 for making an objection,
                                                                                                 but subject to the
                                                                                                 translation, Strategic
                                                                                                 objects under Rule 801
                                                                                                 (hearsay, and not a prior
                                                                                                 consistent statement
                                                                                                 because was not made
                                                                                                 before allegations of
                                                                                                 recent fabrication or
                                                                                                 improper motive), and
                                                                                                 Rule 602 (lack of
                                                                                                 personal knowledge for
                                                                                                 Guo’s statements about
                                                                                                 others). Upon review of
                                                                                                 the translation, some
                                                                                                 statements may be
                                                                                                 admissible against
                                                                                                 Eastern under Rule
                                                                                                 801(2) (A) through (D).
                                                                                                 Further, Strategic’s
                                                                                                 Interrogatory 18,
                                                                                                 propounded in 2018 and
                                                                                                 answered under oath
                                                                                                 December 20, 2018 by
                                                                                                 Eastern, asked Eastern to
                                                                                                 disclose in discovery any
                                                                                                 documents it intended to
                                                                                                 use in “responding to any
                                                                                                 of Strategic Vision’s
                                                                                                 counterclaims,
                                                                                                 allegations, denials or
                                                                                                 defenses.” Eastern failed
                                                                                                 to produce the document
                                                                                                 in discovery and also
                                                                                                 failed to provide the
                                                                                                 document in any Rule 26
                                                                                                 disclosure.



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                                                       EASTERN PROFIT CORPORATION LIMITED’S
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Plaintiff
Trial Ex.   Date         Description                                             Bates Range   Deposition Exhibit or   Admitted / Objections
No.                                                                                            Docket Number
PX-43       04/19/2017   PRC Ministry of Foreign Affairs Press Release re        N/A           N/A                     Rule 801 (hearsay) and
                         Spokesperson Lu Kang’s Regular Press Conference                                               non-disclosure in
                         referring to Interpol issuance of Red Notice on Guo                                           discovery (see objection
                                                                                                                       to PX-42).


PX-44       05/23/2017   Article in Wall Street Journal by Sasha Gong entitled   N/A           N/A                     Rule 602 (lack of
                         How China Managed to Muffle the Voice of America                                              personal knowledge on
                                                                                                                       some of Gong’s
                                                                                                                       statements); Rule 801
                                                                                                                       (hearsay on some of
                                                                                                                       Gong’s statements); non-
                                                                                                                       disclosure in discovery
                                                                                                                       (see objection to PX-42).




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                                                       EASTERN PROFIT CORPORATION LIMITED’S
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Plaintiff
Trial Ex.   Date         Description                                        Bates Range       Deposition Exhibit or   Admitted / Objections
No.                                                                                           Docket Number
PX-45       Undated      Sasha Gong letter in support of Guo’s asylum       N/A               N/A                     Rule 602 (lack of
                         application                                                                                  personal knowledge on
                                                                                                                      some of Gong’s
                                                                                                                      statements); Rule 801
                                                                                                                      (hearsay on some of
                                                                                                                      Gong’s statements).
                                                                                                                      Lianchao Han, acting as
                                                                                                                      Guo’s attorney and acting
                                                                                                                      with other Guo attorneys,
                                                                                                                      modified Gong’s initial
                                                                                                                      draft in March 2018 to
                                                                                                                      add information that only
                                                                                                                      they had, and that were
                                                                                                                      hearsay and not based on
                                                                                                                      Gong’s personal
                                                                                                                      knowledge. For example,
                                                                                                                      Gong agreed to Lianchao
                                                                                                                      Han’s suggestion, on
                                                                                                                      Guo’s behalf, that she
                                                                                                                      minimize the degree of
                                                                                                                      Guo’s work for the
                                                                                                                      Chinese MSS, even
                                                                                                                      though Guo’s own
                                                                                                                      statements to Gong later
                                                                                                                      showed that Guo had
                                                                                                                      indeed worked directly
                                                                                                                      with the MSS. Non-
                                                                                                                      disclosure in discovery
                                                                                                                      (see objection to PX-42).
PX-46       04/15/2018   Washington Times Op-Ed by Sasha Gong entitled      N/A               N/A                     Rule 602 (lack of
                         How Working as A Chinese Language Reporter Holds                                             personal knowledge on
                         Particular Peril for Natives of Communist China                                              some of Gong’s
                                                                                                                      statements); Rule 801
                                                                                                                      (hearsay on some of
                                                                                                                      Gong’s statements). Non-
                                                                                                                      disclosure in discovery
                                                                                                                      (see objection to PX-42).

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                                                       EASTERN PROFIT CORPORATION LIMITED’S
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Plaintiff
Trial Ex.   Date         Description                                        Bates Range       Deposition Exhibit or   Admitted / Objections
No.                                                                                           Docket Number
PX-47       05/25/2018   Tibet.net Op-Ed by Sasha Gong entitled Spineless   N/A               N/A                     Rule 602 (lack of
                         Federal Bureaucrats Caved to Chinese Pressure to                                             personal knowledge on
                         Censor Voice of America. Now They Deny It                                                    some of Gong’s
                                                                                                                      statements); Rule 801
                                                                                                                      (hearsay on some of
                                                                                                                      Gong’s statements). Non-
                                                                                                                      disclosure in discovery
                                                                                                                      (see objection to PX-42).




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                                                       EASTERN PROFIT CORPORATION LIMITED’S
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Plaintiff
Trial Ex.   Date         Description                                              Bates Range   Deposition Exhibit or   Admitted / Objections
No.                                                                                             Docket Number
PX-48       10/26/2018   Guo Wengui interview with Kyle Bass                      N/A           N/A                     Rule 602 (lack of
                                                                                                                        personal knowledge for
                                                                                                                        many of Guo’s
                         https://www.realvision.com/exiled-chinese-billionaire-
                                                                                                                        statements); Rule 801
                         tells-all
                                                                                                                        (hearsay regarding many
                                                                                                                        of Guo’s statements, and
                                                                                                                        they are not prior
                                                                                                                        consistent statements
                                                                                                                        because they were made
                                                                                                                        while this case was
                                                                                                                        pending in 2018, not
                                                                                                                        before allegations of
                                                                                                                        recent fabrication or
                                                                                                                        improper motive).
                                                                                                                        However, some
                                                                                                                        statements may be
                                                                                                                        admissible against
                                                                                                                        Eastern under Rule
                                                                                                                        801(2) (A) through (D).
                                                                                                                        This includes Guo’s false
                                                                                                                        claim to have come to
                                                                                                                        America to warn the
                                                                                                                        country about the threat
                                                                                                                        posed by the CCP, in the
                                                                                                                        first few minutes; his
                                                                                                                        claim to have already
                                                                                                                        received asylum at minute
                                                                                                                        6; his statements about
                                                                                                                        China’s use of Hong
                                                                                                                        Kong and New York
                                                                                                                        Bank of China buildings
                                                                                                                        as spy and money
                                                                                                                        laundering operations at
                                                                                                                        minutes 18-20; his
                                                                                                                        statements about cyber
                                                                                                                        control at minute 30;



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                                                      EASTERN PROFIT CORPORATION LIMITED’S
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Plaintiff
Trial Ex.   Date         Description                                           Bates Range   Deposition Exhibit or   Admitted / Objections
No.                                                                                          Docket Number
PX-48                                                                                                                his refusal to criticize
(cont.)                                                                                                              President Xi at minutes
                                                                                                                     37-38; his claim at
                                                                                                                     minutes 39-40 to know
                                                                                                                     Xi’s predecessor, Hu
                                                                                                                     Jintao, very well; and his
                                                                                                                     claim to be friends with
                                                                                                                     Meng Hongwei, former
                                                                                                                     Interpol president from
                                                                                                                     2016-2018, at 52. Aside
                                                                                                                     from Guo’s occasional
                                                                                                                     admissions, much of the
                                                                                                                     video is led or coached by
                                                                                                                     Kyle Bass, an associate of
                                                                                                                     Guo’s, and covers the
                                                                                                                     Chinese economy and
                                                                                                                     business, irrelevant under
                                                                                                                     Rule 402. Non-disclosure
                                                                                                                     in discovery (see
                                                                                                                     objection to PX-42).


*PX-49      11/24/2018   Daily Caller Op-Ed by Sasha Gong entitled The Funny   N/A           N/A                     X
                         Business of Interpol’s “Red Notice”
PX-50       12/08/2018   Daily Caller Op-Ed by Sasha Gong entitled A Former    N/A           N/A                     Rule 602 (this is an
                         RNC Finance Chair and His Role in Malaysia’s                                                opinion piece by Gong
                         Development Fund Scandal                                                                    and not based on her
                                                                                                                     personal knowledge);
                                                                                                                     Rule 801 (relatedly, it is
                                                                                                                     hearsay and it is not even
                                                                                                                     clear who the sources
                                                                                                                     are); Rule 402
                                                                                                                     (relevance); Non-
                                                                                                                     disclosure in discovery
                                                                                                                     (see objection to PX-42).




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                                                        EASTERN PROFIT CORPORATION LIMITED’S
                                                                  TRIAL EXHIBIT LIST

Plaintiff
Trial Ex.     Date         Description                                           Bates Range                Deposition Exhibit or      Admitted / Objections
No.                                                                                                         Docket Number
*PX-51        12/19/2018   National Post (Canada) Op-Ed by Sasha Gong entitled   N/A                        N/A                        X
                           No One, Rich or Poor, Tourist or Local, Can Escape
                           China’s Surveillance State
PX-52A        2017-2018    Compilation of Guo Anti-CCP video clips 1             N/A                        N/A                        Objection: Eastern had
                                                                                                                                       provided no translation of
                                                                                                                                       the interview at the
                                                                                                                                       deadline for making an
                                                                                                                                       objection, but subject to
                                                                                                                                       the translation, Strategic
                                                                                                                                       objects under Rule 801
                                                                                                                                       (hearsay, and not a prior
                                                                                                                                       consistent statement
                                                                                                                                       because was not made
                                                                                                                                       before allegations of
                                                                                                                                       recent fabrication or
                                                                                                                                       improper motive), and
                                                                                                                                       Rule 602 (lack of
                                                                                                                                       personal knowledge for
                                                                                                                                       Guo’s statements about
                                                                                                                                       others). Upon review of
                                                                                                                                       the translation, some
                                                                                                                                       statements may be
                                                                                                                                       admissible against
                                                                                                                                       Eastern under Rule
                                                                                                                                       801(2) (A) through (D);
                                                                                                                                       non-disclosure in
                                                                                                                                       discovery (see objection
                                                                                                                                       to PX-42).



         1
          Video clips are taken from the following sources: 6/30/2017 https://www.youtube.com/watch?v=4hqD4sH7_Ig&feature=youtu.be (at 36 min, 0 sec); 9/10/2017
         https://www.youtube.com/watch?v=EOk2QpE4aAU (at 6 min, 30 sec); 5/10/2018 https://www.youtube.com/watch?v=xlCHl3lEuo4 (at 49 min 30 sec); 5/24/2018
         https://www.youtube.com/watch?v=KBAqPuZGyqI&t=4s (at 9 min 40 sec); 6/2/2018 https://www.youtube.com/watch?v=LK1Vj5_jNu8 (at 26 min 10 sec);
         6/17/2018 https://www.youtube.com/watch?v=WDaZbqehBKU&t=82s (at 23 min 40 sec); 7/9/2018 https://www.youtube.com/watch?v=cIB8JQTqYao (at 41 min 08
         sec); 7/17/2018 https://youtu.be/VFfrqUyGvmA (at 1:27:18 -1:27:43 and https://www.youtube.com/watch?v=znAILSjv0rs (at 2 hr 40 min); 8/5/2018
         https://www.youtube.com/watch?v=Vuxt8K4Wm0E (at 1 hr 49 min 52 sec); 8/16/2018 https://www.youtube.com/watch?v=iLNve3suG-A (at 42 min 20 sec);

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Plaintiff
Trial Ex.   Date       Description                                       Bates Range                Deposition Exhibit or     Admitted / Objections
No.                                                                                                 Docket Number
PX-52B      Undated    Certified Translation of PX-52A                                                                        Objection: Eastern had
                                                                                                                              provided no translation of
                                                                                                                              the interview at the
                                                                                                                              deadline for making an
                                                                                                                              objection, but subject to
                                                                                                                              the translation, Strategic
                                                                                                                              objects under Rule 801
                                                                                                                              (hearsay, and not a prior
                                                                                                                              consistent statement
                                                                                                                              because was not made
                                                                                                                              before allegations of
                                                                                                                              recent fabrication or
                                                                                                                              improper motive), and
                                                                                                                              Rule 602 (lack of
                                                                                                                              personal knowledge for
                                                                                                                              Guo’s statements about
                                                                                                                              others). Upon review of
                                                                                                                              the translation, some
                                                                                                                              statements may be
                                                                                                                              admissible against
                                                                                                                              Eastern under Rule
                                                                                                                              801(2) (A) through (D);
                                                                                                                              non-disclosure in
                                                                                                                              discovery (see objection
                                                                                                                              to PX-42).




      8/20/2018 https://www.youtube.com/watch?v=NHBgM2o5nFw (at 22 min 40 sec); 8/23/2018 https://www.youtube.com/watch?v=YwL0WHo1L88&t=201s (at 1 hr
      52 min 25 sec); 8/24/2018 https://www.youtube.com/watch?v=DGanIrNmZ-A (at 30 min 45 sec).
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                                                     EASTERN PROFIT CORPORATION LIMITED’S
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Plaintiff
Trial Ex.   Date        Description                                           Bates Range   Deposition Exhibit or   Admitted / Objections
No.                                                                                         Docket Number
PX-53       2017-2018   List of web sources for compilation of Guo Anti-CCP   N/A           N/A                     Objection: Eastern had
                        video clips                                                                                 provided no translation of
                                                                                                                    the interview at the
                                                                                                                    deadline for making an
                                                                                                                    objection, but subject to
                                                                                                                    the translation, Strategic
                                                                                                                    objects under Rule 801
                                                                                                                    (hearsay, and not a prior
                                                                                                                    consistent statement
                                                                                                                    because was not made
                                                                                                                    before allegations of
                                                                                                                    recent fabrication or
                                                                                                                    improper motive), and
                                                                                                                    Rule 602 (lack of
                                                                                                                    personal knowledge for
                                                                                                                    Guo’s statements about
                                                                                                                    others). Upon review of
                                                                                                                    the translation, some
                                                                                                                    statements may be
                                                                                                                    admissible against
                                                                                                                    Eastern under Rule
                                                                                                                    801(2) (A) through (D);
                                                                                                                    non-disclosure in
                                                                                                                    discovery (see objection
                                                                                                                    to PX-42).




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Plaintiff
Trial Ex.   Date         Description                                              Bates Range   Deposition Exhibit or   Admitted / Objections
No.                                                                                             Docket Number
PX-54       08/19/2019   Twitter Safety article entitled Information Operations   N/A           N/A                     Objection: Rule 602, 701,
                         Directed at Hong Kong                                                                          801 (hearsay; these
                                                                                                                        purport to be online
                                                                                                                        Twitter statements
                                                                                                                        regarding a special
                                                                                                                        analysis Twitter
                                                                                                                        performed about Chinese
                                                                                                                        cyber operations against
                                                                                                                        Hong Kong in August
                                                                                                                        2019, but Twitter is
                                                                                                                        unavailable to answer
                                                                                                                        questions about its data
                                                                                                                        collection and
                                                                                                                        conclusions, and we
                                                                                                                        cannot question the
                                                                                                                        individuals who ran the
                                                                                                                        underlying accounts on
                                                                                                                        which it reports ); Rule
                                                                                                                        402-403 (relevance;
                                                                                                                        China’s cyber operations
                                                                                                                        against Hong Kong in
                                                                                                                        2019-2020 are not
                                                                                                                        relevant to the issues in
                                                                                                                        the case, or if they are,
                                                                                                                        any relevance is
                                                                                                                        outweighed by the
                                                                                                                        possibility of confusion
                                                                                                                        and waste of time); non-
                                                                                                                        disclosure in discovery
                                                                                                                        (see objection to PX-42).




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Plaintiff
Trial Ex.   Date         Description                                            Bates Range   Deposition Exhibit or   Admitted / Objections
No.                                                                                           Docket Number
PX-55       08/00/2019   Twitter Data Set 1, “Tweet Information,” released        N/A         N/A                     Objection: Rule 602, 701,
                         August, 2019, excerpted from, and available at:                                              801 (hearsay; these
                         https://transparency.twitter.com/en/reports/information-                                     purport to be online
                         operations.html                                                                              Twitter statements
                                                                                                                      regarding a special
                                                                                                                      analysis Twitter
                                                                                                                      performed about Chinese
                                                                                                                      cyber operations against
                                                                                                                      Hong Kong in August
                                                                                                                      2019, but Twitter is
                                                                                                                      unavailable to answer
                                                                                                                      questions about its data
                                                                                                                      collection and
                                                                                                                      conclusions, and we
                                                                                                                      cannot question the
                                                                                                                      individuals who ran the
                                                                                                                      underlying accounts on
                                                                                                                      which it reports ); Rule
                                                                                                                      402-403 (relevance;
                                                                                                                      China’s cyber operations
                                                                                                                      against Hong Kong in
                                                                                                                      2019-2020 are not
                                                                                                                      relevant to the issues in
                                                                                                                      the case, or if they are,
                                                                                                                      any relevance is
                                                                                                                      outweighed by the
                                                                                                                      possibility of confusion
                                                                                                                      and waste of time); non-
                                                                                                                      disclosure in discovery
                                                                                                                      (see objection to PX-42).




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Plaintiff
Trial Ex.   Date         Description                                            Bates Range   Deposition Exhibit or   Admitted / Objections
No.                                                                                           Docket Number
PX-56       08/00/2019   Twitter Data Set 2, “Tweet Information,” released        N/A         N/A                     Objection: Rule 602, 701,
                         August, 2019, excerpted from, and available at:                                              801 (hearsay; these
                         https://transparency.twitter.com/en/reports/information-                                     purport to be online
                         operations.html                                                                              Twitter statements
                                                                                                                      regarding a special
                                                                                                                      analysis Twitter
                                                                                                                      performed about Chinese
                                                                                                                      cyber operations against
                                                                                                                      Hong Kong in August
                                                                                                                      2019, but Twitter is
                                                                                                                      unavailable to answer
                                                                                                                      questions about its data
                                                                                                                      collection and
                                                                                                                      conclusions, and we
                                                                                                                      cannot question the
                                                                                                                      individuals who ran the
                                                                                                                      underlying accounts on
                                                                                                                      which it reports ); Rule
                                                                                                                      402-403 (relevance;
                                                                                                                      China’s cyber operations
                                                                                                                      against Hong Kong in
                                                                                                                      2019-2020 are not
                                                                                                                      relevant to the issues in
                                                                                                                      the case, or if they are,
                                                                                                                      any relevance is
                                                                                                                      outweighed by the
                                                                                                                      possibility of confusion
                                                                                                                      and waste of time); non-
                                                                                                                      disclosure in discovery
                                                                                                                      (see objection to PX-42).




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PX-57   10/00/2019   Australian Strategic Policy Institute - International   N/A            N/A   Objection: Rule 602, 701,
                     Cyber Policy Centre Issues Paper Report entitled                             801 (lack of personal
                     Tweeting through the Great Firewall                                          knowledge, opinion, and
                                                                                                  hearsay; this purports to
                                                                                                  be an opinion by a third
                                                                                                  party about whether and
                                                                                                  why the PRC staged an
                                                                                                  obvious, blunt-force
                                                                                                  Twitter campaign against
                                                                                                  Guo focused on April
                                                                                                  2017, but continuing into
                                                                                                  July 2019); Rule 402-403
                                                                                                  (relevance; China’s blunt-
                                                                                                  force, uncovered cyber
                                                                                                  operations are not
                                                                                                  relevant unless the reason
                                                                                                  for engaging in the
                                                                                                  operations is known; if
                                                                                                  this is an obvious
                                                                                                  government-run
                                                                                                  operation, as the article
                                                                                                  opines, was it performed
                                                                                                  in order to actually sway
                                                                                                  opinion, or was it
                                                                                                  undertaken to provide
                                                                                                  cover for Guo and build
                                                                                                  the story that he is a
                                                                                                  dissident as he launched
                                                                                                  his U.S. media campaign?
                                                                                                  The article cannot and
                                                                                                  does not try to answer
                                                                                                  this question. Further, its
                                                                                                  authors created the
                                                                                                  document post-lawsuit
                                                                                                  and it makes numerous
                                                                                                  factual errors in its quick
                                                                                                  background sketch on
                                                                                                  Guo, likely gleaned from
                                                                                                  second or third-hand
                                                                                                  sources); non-disclosure
                                                                                                  in discovery (see
                                                                                                  objection to PX-42).
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PX-58   06/00/2020   Australian Strategic Policy Institute - International   N/A           N/A    Objection: Rule 602, 701,
                     Cyber Policy Centre Policy Brief entitled Retweeting                         801 (lack of personal
                     through the Great Firewall                                                   knowledge, opinion, and
                                                                                                  hearsay; this purports to
                                                                                                  be an opinion by a third
                                                                                                  party about whether and
                                                                                                  why the PRC staged an
                                                                                                  obvious, blunt-force
                                                                                                  Twitter campaign against
                                                                                                  Guo into July 2019 and
                                                                                                  2020); Rule 402-403
                                                                                                  (relevance; China’s blunt-
                                                                                                  force, uncovered cyber
                                                                                                  operations in 2019-2020
                                                                                                  are not relevant unless the
                                                                                                  reason for engaging in the
                                                                                                  operations is known; if
                                                                                                  this is an obvious
                                                                                                  government-run
                                                                                                  operation, as the article
                                                                                                  opines, was it performed
                                                                                                  in order to actually sway
                                                                                                  opinion, or was it
                                                                                                  undertaken to provide
                                                                                                  cover for Guo and build
                                                                                                  the story that he is a
                                                                                                  dissident as he launched
                                                                                                  his U.S. media campaign?
                                                                                                  The article cannot and
                                                                                                  does not try to answer
                                                                                                  this question. Further, its
                                                                                                  authors created the
                                                                                                  document post-lawsuit
                                                                                                  and it makes numerous
                                                                                                  factual errors in its quick
                                                                                                  background sketch on
                                                                                                  Guo, likely gleaned from
                                                                                                  second or third-hand
                                                                                                  sources); non-disclosure
                                                                                                  in discovery (see
                                                                                                  objection to PX-42).

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PX-59   06/17/2020   Stanford Internet Observatory Cyber Policy Center   N/A             N/A     Objection: lack of
                     report entitled Sockpuppets Spin COVID Yarns: An                            authentication in that the
                     Analysis of PRC-Attributed June 2020 Twitter                                Thiel “Authenticity
                     Takedown                                                                    Certification” (executed
                                                                                                 in November 2020 but
                                                                                                 not disclosed to Strategic
                                                                                                 until April 8, 2021)
                                                                                                 attempts to overcome the
                                                                                                 hearsay rule by being a
                                                                                                 business record.
                                                                                                 However, the report is not
                                                                                                 a business record that can
                                                                                                 be authenticated through
                                                                                                 a custodian in the manner
                                                                                                 Eastern attempts with the
                                                                                                 “Certification.” The
                                                                                                 report was not, for
                                                                                                 example, a report
                                                                                                 prepared in the ordinary
                                                                                                 course of the center’s
                                                                                                 operations and made
                                                                                                 contemporaneous with
                                                                                                 the events it describes.
                                                                                                 The “Certification”
                                                                                                 attempts to provide
                                                                                                 foundation for admission
                                                                                                 at trial without the
                                                                                                 appearance of an
                                                                                                 appropriate witness. Rule
                                                                                                 602, 701, 801 (lack of
                                                                                                 personal knowledge,
                                                                                                 opinion, and hearsay; this
                                                                                                 purports to be an opinion
                                                                                                 by a third party about
                                                                                                 whether the PRC staged
                                                                                                 an obvious, blunt-force
                                                                                                 Twitter campaign against
                                                                                                 Guo focused in 2019-
                                                                                                 2020); Rule 402-403
                                                                                                 (relevance; China’s blunt-
                                                                                                 force, uncovered cyber
                                                                                                 operations in 2019-2020
                                                                         -23-
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Trial Ex.   Date   Description                            Bates Range          Deposition Exhibit or   Admitted / Objections
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                                                                                                       are not relevant unless the
                                                                                                       reason for engaging in the
                                                                                                       operations is known; if
                                                                                                       this is an obvious
                                                                                                       government-run
                                                                                                       operation, as the article
                                                                                                       opines, was it performed
                                                                                                       in order to actually sway
                                                                                                       opinion, or was it
                                                                                                       undertaken to provide
                                                                                                       cover for Guo and build
                                                                                                       the story that he is a
                                                                                                       dissident as he launched
                                                                                                       his U.S. media campaign?
                                                                                                       The article cannot and
                                                                                                       does not try to answer
                                                                                                       this opinion. Further, its
                                                                                                       authors created the
                                                                                                       document post-lawsuit
                                                                                                       and it makes some factual
                                                                                                       errors in its quick
                                                                                                       background sketch on
                                                                                                       Guo, likely gleaned from
                                                                                                       second or third-hand
                                                                                                       sources); non-disclosure
                                                                                                       in discovery (see
                                                                                                       objection to PX-42).




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Plaintiff
Trial Ex.   Date         Description                                         Bates Range      Deposition Exhibit or   Admitted / Objections
No.                                                                                           Docket Number
PX-60       08/17/2020   Criminal Information-United States v. Nickie Mali   N/A              N/A                     Objection: Rule 602, 801,
                         Lum Davis, CR.No. 20-00068                                                                   402 and 403 (all of these
                                                                                                                      statements are allegations
                                                                                                                      that purport to be based
                                                                                                                      on statements of non-
                                                                                                                      witnesses, and they are
                                                                                                                      being offered to prove
                                                                                                                      that the PRC actually
                                                                                                                      tried to force the
                                                                                                                      deportation of Guo in
                                                                                                                      May of 2017 through US
                                                                                                                      agents, which Eastern
                                                                                                                      will argue proves that
                                                                                                                      Guo was a true dissident.
                                                                                                                      However, the key issue is
                                                                                                                      whether the PRC actually
                                                                                                                      wanted and intended to
                                                                                                                      execute the alleged plan,
                                                                                                                      which came nowhere
                                                                                                                      close to fruition, and not
                                                                                                                      even the individuals
                                                                                                                      whose hearsay is cited in
                                                                                                                      this document could
                                                                                                                      testify as to the PRC’s
                                                                                                                      true plan. Further, Guo
                                                                                                                      made statements pledging
                                                                                                                      loyalty to Xi Jinping even
                                                                                                                      after this supposed plan).




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                                                     EASTERN PROFIT CORPORATION LIMITED’S
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Plaintiff
Trial Ex.   Date         Description                                     Bates Range        Deposition Exhibit or   Admitted / Objections
No.                                                                                         Docket Number
PX-61       08/31/2020   US DOJ Press Release re Nickie Mali Lum Davis   N/A                N/A                     Objection: Rule 602, 801,
                         guilty plea                                                                                402 and 403 (all of these
                                                                                                                    statements are allegations
                                                                                                                    that purport to be based
                                                                                                                    on statements of non-
                                                                                                                    witnesses, and they are
                                                                                                                    being offered to prove
                                                                                                                    that the PRC actually
                                                                                                                    tried to force the
                                                                                                                    deportation of Guo in
                                                                                                                    May of 2017 through US
                                                                                                                    agents, which Eastern
                                                                                                                    will argue proves that
                                                                                                                    Guo was a true dissident.
                                                                                                                    However, the key issue is
                                                                                                                    whether the PRC actually
                                                                                                                    wanted and intended to
                                                                                                                    execute the alleged plan,
                                                                                                                    which came nowhere
                                                                                                                    close to fruition, and not
                                                                                                                    even the individuals
                                                                                                                    whose hearsay is cited in
                                                                                                                    this document could
                                                                                                                    testify as to the PRC’s
                                                                                                                    true plan. Further, Guo
                                                                                                                    made statements pledging
                                                                                                                    loyalty to Xi Jinping even
                                                                                                                    after this supposed plan).




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Plaintiff
Trial Ex.   Date         Description                                               Bates Range   Deposition Exhibit or   Admitted / Objections
No.                                                                                              Docket Number
PX-62       10/06/2020   Criminal Information – United States v. Elliott Broidy,   N/A           N/A                     Objection: Rule 602, 801,
                         CR No.1:20-cr-00210                                                                             402 and 403 (all of these
                                                                                                                         statements are allegations
                                                                                                                         that purport to be based
                                                                                                                         on statements of non-
                                                                                                                         witnesses, and they are
                                                                                                                         being offered to prove
                                                                                                                         that the PRC actually
                                                                                                                         tried to force the
                                                                                                                         deportation of Guo in
                                                                                                                         May of 2017 through US
                                                                                                                         agents, which Eastern
                                                                                                                         will argue proves that
                                                                                                                         Guo was a true dissident.
                                                                                                                         However, the key issue is
                                                                                                                         whether the PRC actually
                                                                                                                         wanted and intended to
                                                                                                                         execute the alleged plan,
                                                                                                                         which came nowhere
                                                                                                                         close to fruition, and not
                                                                                                                         even the individuals
                                                                                                                         whose hearsay is cited in
                                                                                                                         this document could
                                                                                                                         testify as to the PRC’s
                                                                                                                         true plan. Further, Guo
                                                                                                                         made statements pledging
                                                                                                                         loyalty to Xi Jinping even
                                                                                                                         after this supposed plan).
*PX-63      04/19/2017   Reuters Staff article entitled China Says Interpol “Red   N/A           N/A                     X
                         Notice” Issued for Tycoon Guo Wengui




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Plaintiff
Trial Ex.   Date         Description                                             Bates Range    Deposition Exhibit or   Admitted / Objections
No.                                                                                             Docket Number
PX-64       09/20/2017   Forbes article by Nathan Vardi entitled Chinese         N/A            N/A                     Objection: Rule 602, 701,
                         Fugitive Tycoon Guo Wengui Beats Hedge Fund in                                                 801 (lack of personal
                         U.S. Court As $88 Million Lawsuit Tossed                                                       knowledge, opinion, and
                                                                                                                        hearsay; this contains
                                                                                                                        numerous statements for
                                                                                                                        which the source and
                                                                                                                        speaker is not clear, and
                                                                                                                        insinuates without
                                                                                                                        directly stating that the
                                                                                                                        PAX lawsuit was a failed
                                                                                                                        PRC-inspired effort to
                                                                                                                        punish Guo, when in fact
                                                                                                                        the case is continuing, the
                                                                                                                        docket would show that
                                                                                                                        the case has merit and
                                                                                                                        Guo has been
                                                                                                                        sanctioned).
*PX-65      10/06/2017   Walls Street Journal article by Cezary Podkul, Kate     N/A            N/A                     X
                         O’Keeffe and Aruna Viswanatha entitled U.S.
                         Confronts China Over Suspected Cyberattack as
                         Fugitive Guo Wengui Appears in Washington
*PX-66      11/03/2017   Marco Rubio Questions the block of Guo Wengui’s                                                X
                         Facebook Account (YouTube Video)
                         https://www.youtube.com/watch?v=8A3r8LAl7kE
*PX-67      04/19/2018   New York Times article by David D. Kirkpatrick and      N/A            N/A                     X
                         Mark Mazzetti entitled Seeking Foreign Money,
                         G.O.P. Donor Pushed for Trump to Golf With
                         Malaysian Premier
*PX-68      04/23/2018   Financial Times article by Lucy Hornby entitled China   N/A            N/A                     X
                         Accuses Exiled Guo Wengui of US Campaign
                         Donations
*PX-69      02/25/2018   Guo tweet, with certified translation                   N/A            N/A                     X




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PX-70A    07/17/2018   Guo video clip 2                         N/A                  N/A            Objection: Eastern had
                                                                                                    provided no translation of
                                                                                                    the interview at the
                                                                                                    deadline for making an
                                                                                                    objection, but subject to
                                                                                                    the translation, Strategic
                                                                                                    objects under Rule 801
                                                                                                    (hearsay, and not a prior
                                                                                                    consistent statement
                                                                                                    because was not made
                                                                                                    before allegations of
                                                                                                    recent fabrication or
                                                                                                    improper motive). Upon
                                                                                                    review of the translation,
                                                                                                    some statements may be
                                                                                                    admissible against
                                                                                                    Eastern under Rule
                                                                                                    801(2) (A) through (D).
                                                                                                    Further, Strategic’s
                                                                                                    Interrogatory 18,
                                                                                                    propounded in 2018 and
                                                                                                    answered under oath
                                                                                                    December 20, 2018 by
                                                                                                    Eastern, asked Eastern to
                                                                                                    disclose in discovery any
                                                                                                    documents it intended to
                                                                                                    use in “responding to any
                                                                                                    of Strategic Vision’s
                                                                                                    counterclaims,
                                                                                                    allegations, denials or
                                                                                                    defenses.” Eastern failed
                                                                                                    to produce the document
                                                                                                    in discovery and also
                                                                                                    failed to provide the
                                                                                                    document in any Rule 26
                                                                                                    disclosure. Finally, the
                                                                                                    clip consists of a few
                                                                                                    seconds from the middle
                                                                                                    of a wide-ranging,
PX-70A                                                                                              3-hour statement Guo
(cont.)                                                                                             gave on his own

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No.                                                                                           Docket Number
                                                                                                                      controlled station, and so
                                                                                                                      before entertaining any
                                                                                                                      admission of these few
                                                                                                                      seconds, the full
                                                                                                                      translation and clip
                                                                                                                      should be provided for
                                                                                                                      context.




      2
          Clip was taken from video posted at: https://www.youtube.com/watch?v=znAILSjv0rs

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PX-70B    Undated   Certified translation of PX-70A.                N/A                   N/A    Objection: Eastern had
                                                                                                 provided no translation of
                                                                                                 the interview at the
                                                                                                 deadline for making an
                                                                                                 objection, but subject to
                                                                                                 the translation, Strategic
                                                                                                 objects under Rule 801
                                                                                                 (hearsay, and not a prior
                                                                                                 consistent statement
                                                                                                 because was not made
                                                                                                 before allegations of
                                                                                                 recent fabrication or
                                                                                                 improper motive). Upon
                                                                                                 review of the translation,
                                                                                                 some statements may be
                                                                                                 admissible against
                                                                                                 Eastern under Rule
                                                                                                 801(2) (A) through (D).
                                                                                                 Further, Strategic’s
                                                                                                 Interrogatory 18,
                                                                                                 propounded in 2018 and
                                                                                                 answered under oath
                                                                                                 December 20, 2018 by
                                                                                                 Eastern, asked Eastern to
                                                                                                 disclose in discovery any
                                                                                                 documents it intended to
                                                                                                 use in “responding to any
                                                                                                 of Strategic Vision’s
                                                                                                 counterclaims,
                                                                                                 allegations, denials or
                                                                                                 defenses.” Eastern failed
                                                                                                 to produce the document
                                                                                                 in discovery and also
                                                                                                 failed to provide the
                                                                                                 document in any Rule 26
                                                                                                 disclosure. Finally, the
                                                                                                 clip consists of a few
                                                                                                 seconds from the middle
                                                                                                 of a wide-ranging,
PX-70B                                                                                           3-hour statement Guo
(cont.)                                                                                          gave on his own

                                                                   -31-
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                                                         EASTERN PROFIT CORPORATION LIMITED’S
                                                                   TRIAL EXHIBIT LIST

Plaintiff
Trial Ex.   Date         Description                                            Bates Range     Deposition Exhibit or   Admitted / Objections
No.                                                                                             Docket Number
                                                                                                                        controlled station, and so
                                                                                                                        before entertaining any
                                                                                                                        admission of these few
                                                                                                                        seconds, the full
                                                                                                                        translation and clip
                                                                                                                        should be provided for
                                                                                                                        context.
PX-71       10/20/2020   Elliot Broidy Guilty Plea - United States v. Elliott   N/A             N/A                     Objection: Rule 602, 801,
                         Broidy, CR No.1:20-cr-00210                                                                    402 and 403 (all of these
                                                                                                                        statements are allegations
                                                                                                                        that purport to be based
                                                                                                                        on statements of non-
                                                                                                                        witnesses, and they are
                                                                                                                        being offered to prove
                                                                                                                        that the PRC actually
                                                                                                                        tried to force the
                                                                                                                        deportation of Guo in
                                                                                                                        May of 2017 through US
                                                                                                                        agents, which Eastern
                                                                                                                        will argue proves that
                                                                                                                        Guo was a true dissident.
                                                                                                                        However, the key issue is
                                                                                                                        whether the PRC actually
                                                                                                                        wanted and intended to
                                                                                                                        execute the alleged plan,
                                                                                                                        which came nowhere
                                                                                                                        close to fruition, and not
                                                                                                                        even the individuals
                                                                                                                        whose hearsay is cited in
                                                                                                                        this document could
                                                                                                                        testify as to the PRC’s
                                                                                                                        true plan. Further, Guo
                                                                                                                        made statements pledging
                                                                                                                        loyalty to Xi Jinping even
                                                                                                                        after this supposed plan).



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                                   Case 1:18-cv-02185-LJL Document 333 Filed 04/08/21 Page 33 of 33
                                                       EASTERN PROFIT CORPORATION LIMITED’S
                                                                 TRIAL EXHIBIT LIST

Plaintiff
Trial Ex.   Date         Description                                           Bates Range    Deposition Exhibit or   Admitted / Objections
No.                                                                                           Docket Number
PX-72       08/31/2020   Nicki Mali Lum Davis Guilty Plea - United States v.   N/A            N/A                     Objection: Rule 602, 801,
                         Nickie Mali Lum Davis, CR.No. 20-00068                                                       402 and 403 (all of these
                                                                                                                      statements are allegations
                                                                                                                      that purport to be based
                                                                                                                      on statements of non-
                                                                                                                      witnesses, and they are
                                                                                                                      being offered to prove
                                                                                                                      that the PRC actually
                                                                                                                      tried to force the
                                                                                                                      deportation of Guo in
                                                                                                                      May of 2017 through US
                                                                                                                      agents, which Eastern
                                                                                                                      will argue proves that
                                                                                                                      Guo was a true dissident.
                                                                                                                      However, the key issue is
                                                                                                                      whether the PRC actually
                                                                                                                      wanted and intended to
                                                                                                                      execute the alleged plan,
                                                                                                                      which came nowhere
                                                                                                                      close to fruition, and not
                                                                                                                      even the individuals
                                                                                                                      whose hearsay is cited in
                                                                                                                      this document could
                                                                                                                      testify as to the PRC’s
                                                                                                                      true plan. Further, Guo
                                                                                                                      made statements pledging
                                                                                                                      loyalty to Xi Jinping even
                                                                                                                      after this supposed plan).




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